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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

  THE NOCO COMPANY,                             )     CASE NO. 1:20-cv-02322
                                                )
                        Plaintiff,              )     JUDGE DAVID A. RUIZ
                                                )
  v.                                            )
                                                )
  AUKEY TECHNOLOGY CO., LTD., et                )
  al.                                           )
                                                )
                        Defendants.             )
                                                )



       THE NOCO COMPANY’S MOTION FOR EXTENSION OF CASE DEADLINES


        Pursuant to Fed. R. Civ. P. 6(b)(1)(A), Plaintiff The NOCO Company (“NOCO”)

requests that this Court issue an order modifying the deadlines set forth in the Parties’ prior

motion (ECF # 45), which the Court approved in its May 5, 2023 Minutes of Proceedings and

Order (ECF # 46). Currently, NOCO and Defendants Aukey Technology Co., Ltd., (“Aukey”),

Shenzhenshi Jiangyun Shangmaoyouxiangongsi (“HuiMing”), and Wodeshijikeji Shenzhen

Youxiangongsi (“WorldUS”) (collectively, the “Parties”) are operating under the following

case schedule:

                    Event                                         Deadline

 Fact Discovery Close                           October 2, 2023

 Affirmative Expert Reports                     November 28, 2023

 Defensive Expert Reports                       January 5, 2024
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 Rebuttal Expert Reports                            February 2, 2024

 Expert Discovery Close                             March 1, 2024

 Dispositive Motions                                April 26, 2024


See ECF # 46. Previously, the Parties jointly moved the Court for an extension of the case

deadlines on two occasions. See ECF ## 42, 45. However, with fact discovery imminently

closing, and Defendants having recently produced documents—including on October 1,

2023—NOCO requires additional time to conduct fact discovery, including but not limited to

reviewing and translating Defendants’ documents, deposing witnesses, and obtaining

documents and information from third parties. Accordingly, NOCO requests that the Court

enter an order extending the case deadlines by at least ninety (90) days, which will allow

NOCO and Defendants to complete fact discovery. Alternatively, NOCO requests that the

Court schedule a status conference, at its convenience, so that the Parties may discuss the

additional time required to conduct discovery.

    I.        RELEVANT BACKGROUND.

          Defendants did not file a Fed. R. Civ. P. 12 response to the Complaint until July 29,

2021, as a result of NOCO perfecting service of the Complaint through the Hague Convention

on Service Abroad of Judicial and Extrajudicial Documents in Civil and Commercial Matter.

See ECF # 26. The Court then held its Fed. R. Civ. P. 16 case management conference on

December 6, 2021, and the Court assigned an initial case management schedule on December

9, 2021. See ECF ## 30, 33. Initially, the Court ordered that fact discovery close on December

6, 2022. See ECF # 33.



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           The Parties then began conducting discovery, with NOCO diligently issuing

discovery requests upon Defendants on January 20, 2022, and issuing a Fed. R. Civ. P. 45

subpoena upon Amazon.com, Inc. on January 20, 2022. See ECF # 42. The Parties also entered

into a Stipulated Protective Order to facilitate the production of confidential information and

negotiated electronic search terms to aid in the retrieval of electronic documents. See ECF ##

41, 42.1

           Despite NOCO’s diligence in seeking discovery from Defendants and issuing

discovery requests on January 20, 2022, Defendants did not begin producing documents until

nineteen (19) months later on August 2, 2023. See August 2, 2023 Email Correspondence,

attached as Exhibit 1. At that time, Defendants indicated that more documents were

forthcoming and noted that documents would be produced on a “rolling basis.” However,

between January 20, 2022, and August 2, 2023, NOCO attempted to accelerate the fact

discovery process and issued discovery deficiency letters on May 19, 2022, and June 22, 2023,

to Defendants related to their lack of document production and objections to NOCO’s

discovery requests. See Discovery Deficiency Letters, attached as Exhibits 2 and 3.

           After Defendants’ initial August 2, 2023 production, Defendants then produced

batches of documents on three more occasions. Defendants’ second production occurred on

August 29, 2023. See Email Correspondence Producing Documents, attached as Exhibit 4.

Defendants produced their third batch of documents on September 26, 2023—a mere six (6)


1During this time, the Parties also attended mediation of the above-captioned action on September 7,
2022, and attempted to resume mediation on April 24, 2023. See September 7, 2022 and April 24, 2023
Minute Orders.


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days before the close of fact discovery. See Exh. 4. Even more prejudicially, Defendants made

their fourth document production one (1) day before the close of fact discovery on October 1,

2023. See Exh. 4.

          As a result of Defendants’ delayed document production, counsel for NOCO has not

had sufficient opportunity to translate the documents into English, conduct a sufficient

review of the documents produced, evaluate the documents, or follow-up on questions raised

by the documents. Further, as a result of Defendants’ delays, NOCO has been prevented from

conducting depositions of Defendants’ witnesses and representatives as NOCO has not had

a full opportunity to review Defendants’ document production. Put simply, the Court should

not permit Defendants to abscond from their discovery obligations by producing documents

on the eve of the close of fact discovery. Indeed, Defendants have not indicated whether their

document production is complete. Accordingly, the Court should extend the case deadlines

to permit NOCO to complete fact discovery.

    II.       GOOD CAUSE EXISTS TO AMEND THE CASE SCHEDULE.

          Generally, upon demonstrating good cause, a court may amend its case management

schedule. See Deloitte Tax LLP v. Murray, Case No. 1:20-cv-2487, 2022 U.S. Dist. LEXIS 1464,

at *3-4 (N.D. Ohio Jan. 4, 2022); Gargas v. Estes Express Lines. Case No. 3:20-cv-590, 2021 U.S.

Dist. LEXIS 243556, at *7 (N.D. Ohio Dec. 20, 2021). “A party demonstrates sufficient good

cause to alter the discovery deadlines established by the Court when it shows that, despite

its diligence, the established deadline could not be met.” Deloitte Tax, 2022 U.S. Dist. LEXIS

1464, at *3-4 (citing Smith v. Holston Med. Grp., P.C., 595 F. App’x 474, 478 (6th Cir. 2014)).



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“District courts enjoy a wide latitude in ‘manag[ing] the discovery process and control[ling]

their dockets.’” Deloitte Tax, 2022 U.S. Dist. LEXIS 1464, at *4 (quoting Marie v. Am. Red Cross,

771 F.3d 344, 366 (6th Cir. 2014) (citing Wolotsky v. Huhn, 960 F.2d 1331, 1338 (6th Cir. 1992))).

           Here, good cause exists to amend the case schedule. Defendants did not begin

producing documents until August 2, 2023, despite NOCO’s diligent efforts to accelerate

document production. See Exhs. 1, 2, 3. Defendants should also not benefit from their

discovery-gamesmanship in producing documents the day before fact discovery closes.

NOCO has not had an opportunity to sufficiently review and evaluate Defendants’ document

production. Because of the delayed productions, NOCO could not have taken depositions of

Defendants’ witnesses and representatives without suffering great prejudice. Further, NOCO

will be prejudiced should fact discovery close without permitting NOCO to sufficiently

review, evaluate, and follow-up on Defendants’ document production or take depositions of

fact witnesses.

    III.      CONCLUSION.

           Defendants should not be allowed to benefit from delaying document production and

producing documents the day before fact discovery closes. Accordingly, good cause exists to

amend the case schedule as NOCO has not had sufficient opportunity to translate, review,

follow-up on, and evaluate Defendants’ recent document productions. As a result, the Court

should extend the case deadlines by at least ninety (90) days or in the alternative, set a status

conference at the Court’s convenience to discuss extensions of the case deadlines.




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                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and accurate copy of the foregoing was filed electronically

via the Court’s electronic docketing system on October 2, 2023. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt. Parties may access this filing through the Court’s system.


                                             /s/ Jon J. Pinney
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